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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1346V
                                        UNPUBLISHED


    RENEE MAJERUS,                                          Chief Special Master Corcoran

                        Petitioner,                         Filed: June 7, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Howard Dale Mishkind, Mishkind Law Firm Co., L.P.A., Beachwood, OH, for Petitioner.

Benjamin Patrick Warder, U.S. Department of Justice, Washington, DC, for
Respondent.

                                   RULING ON ENTITLEMENT1

       On October 8, 2020, Renee Majerus filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she sustained a shoulder injury related to vaccine
administration (SIRVA) resulting from the adverse effects of an influenza (flu) vaccination
she received on October 11, 2017. Petition at 1-2. Petitioner further alleges the
vaccination was administered within the United States, she experienced the residual
effects of her injury for more than six months, and there have been no prior awards or
settlements of a civil action for damages as a result of Petitioner’s condition. Petition at
1-2. The case was assigned to the Special Processing Unit of the Office of Special
Masters.
1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        On June 6, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Respondent determined that “[P]etitioner has satisfied the criteria set forth in the Vaccine
Injury Table (“Table”) and the Qualifications and Aids to Interpretation for SIRVA.” Id. at
7. Specifically, Respondent found that Petitioner timely filed her case, that she received
the flu vaccination in the United States, and that she has satisfied the statutory severity
requirement by suffering the residual effects or complications of her injury for more than
six months after vaccine administration. Respondent further agrees that The scope of
damages to be awarded is limited to Petitioner’s SIRVA and its related sequelae. Id. at 8.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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